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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,                              Case No. 2:24-CR-0007-TOR-1

                                Plaintiff,             CRIMINAL MINUTES

                   vs.                                 DATE:      7/10/2024

CATLIN RAY SARGENT,                                    LOCATION: Spokane

                                Defendant.             CHANGE OF PLEA

                                       JUDGE THOMAS O. RICE

       Linda Hansen                                                                    Crystal Gonzalez

   Courtroom Deputy            Law Clerk                        Interpreter            Court Reporter

             Michael Vander Giessen                                       Molly M Winston

              Government Counsel                                          Defense Counsel
[ X ] Open Court                                          [ ] US Probation Officer:

Defendant is present with counsel and is in custody of the US Marshal.

A signed, original Plea Agreement was provided to the Court.

Oath administered to Defendant for change of plea. Defendant confirmed his true and correct name.

The Court advised the Defendant of rights given up by entering a guilty plea including the right to a jury
trial. The Court confirmed Defendant’s understanding of the elements and facts depicted in the Plea
Agreement, which would need to be proven to obtain a conviction. The Court advised the Defendant that he
will be giving up certain rights to appeal.

Defendant pleaded guilty to Count 2 of the Indictment and the Court accepted his plea. The Court finds the
Defendant fully competent and aware of the charges against him; and that he knowingly and voluntarily
entered into the Plea Agreement.

The Court ordered a presentence report and set Sentencing for 10/9/2024 at 1:00 p.m.

Defendant shall remain on the previously imposed conditions of release pending sentencing.

CONVENED: 10:36 AM         ADJOURNED: 10:45 AM       TIME: 9 MINS             ORDER FORTHCOMING [ X ]
